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UNITED STATES BANKRUPTCY COURT FOR THE
NORTHERN DISTRICT OF INDIANA

 

FORT WAYNE DIVISION
IN RE: CHAPTER 7
TYLYNN WALTERS MOORE
CASE NO. 3:18-BK-11219-REG
HONORABLE Robert E. Grant
Debtor.

 

 

TRUSTEE’S APPLICATION FOR COMPENSATION
AND REIMBURSEMENT OF EXPENSES

 

Pursuant to 11 U.S.C. Section 330, the undersigned Trustee hereby requests
compensation in the amount of $5,400.10 and reimbursement of expenses in the amount of
$337.96 for this case. The Trustee has, by prior authorization, received no such compensation
and no such reimbursement of expenses.

COMPUTATION OF COMPENSATION AND EXPENSES

Total disbursements to other than debtor will be $46,501.00

 

Pursuant to 11 U.S.C. Section 326, compensation to the trustee is computed as follows:

(For cases filed on or after October 23, 1994)

Receipts $46,501.00 25% of first 5,000 $1,250.00
Less -5,000.00 ($1250.00 Max)
Balance $41,501.00 10% of next 45,000 $4,150.10
Less -45,000.00 ($4500.00 Max)
Balance $0.00 5% of next 950,000 $0.00
Less -950,000.00 ($47,500.00 Max)
Balance $0.00 3% of balance $0.00

TOTAL COMPENSATION REQUESTED $5,400.10

 
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TRUSTEE EXPENSES (ITEMIZED):

 

Clerical 51.00 @ $0.06 $3.06
Clerical 90.00 @ $0.16 $14.40
Copies 958.00 @ $0.25 $239.50
Postage 90.00 @ $0.49 $44.10
Postage 30.00 @ $1.23 $36.90

TOTAL EXPENSES CLAIMED $337.96

TOTAL REQUESTED FEES AND EXPENSES $5,738.06

 

WHEREFORE, the Trustee request this application be approved by the Court and that the
Trustee be awarded $5,400.10 as compensation and $337.96 for reimbursement of expenses. The
Trustee certifies that no payments have been made or promised to his/her for services rendered in
any capacity in this case. No agreement or understanding exists between the Trustee and any
other person or entity, other than her law firm, for sharing compensation or to be received.

 

Dated: March 19, 2019 /s/ Yvette Gaff Kleven

Yvette Gaff Kleven Stee
Chapter 7 T,
111 W. Wa¥ne Street

Fort Wayne, IN 46802
Telephone: (260) 407-7077

 
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Trustee’s Compensation

Debtor: TYLYNN WALTERS MOORE

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Computation of Compensation

 

 

 

 

 

 

 

 

Total disbursements to other than the debtor are: $46,501.00

Pursuant to 11 U.S.C. 326, compensation is computed as follows:
25% of first $5,000.00 $1,250.00
10% of next $41,501.00 $4,150.10
5% of next $0.00 $0.00
3% of next $0.00 $0.00
Calculated Total Compensation: $5,400.10
Plus Adjustment: $0.00
Total Compensation: $5,400.10
Less Previously Paid: $0.00
Total Compensation Requested: $5,400.10

Trustee Expenses

CLERICAL 51 @$0.06 $3.06
CLERICAL 90 @$0.16 $14.40
COPIES 958 @$0.25 $239.50
POSTAGE 90 @$0.49 $44.10
POSTAGE 30 = @$1.23 $36.90
Subtotal Expenses: $337.96
Plus Adjustment: $0.00
Total Expenses: $337.96
Less Previously Paid: $0.00
Total Expenses Requested: $337.96

 

The undersigned Trustee certifies under penalty of perjury that the foregoing is true and correct to
the best of his/her knowledge and requests the United States Trustee to approve this report and accounts
and requests the Court to provide for notice and opportunity for a hearing under 11 U.S.C. 330(a), 502(b),
and 503(b) and to thereafter award final compensation or reimbursement of expenses and to make final
allowance for the purposes of distribution to claims, administrative expenses, and other payments stated

in this report and account.

WHEREFORE, the Trustee requests that this application be approved by this Court and that the
Trustee be granted an allowance of $5,400.10 as compensation and $337.96 for reimbursement of
expenses. The Trustee further states that no payments have been made or promised to him/her for
services rendered or to be rendered in any capacity in this case. No agreement or understanding exists
between applicant and any other person for sharing compensation or to be received.

Dated: _ 03/19/2019

Signed: _/s/Yvette Gaff Kleven

(,

Yvette Gaff Kleven V
Chapter 7 Bankruptcy Trustée
111 W. Wayne Street

Fort Wayne, IN 46802

 
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UNITED STATES BANKRUPTCY COURT
NORTHERN DISTRICT OF INDIANA

FORT WAYNE DIVISION
IN THE MATTER OF: )
TYLYNN WALTERS MOORE BANKRUPTCY CASE NUMBER. 18-11219-REG
) CHAPTER 7
DEBTOR.

AFFIDAVIT

I, Yvette Gaff Kleven, being duly sworn upon my oath, depose and say:

|. That I was appointed Trustee in the above bankruptcy proceeding, and I do not have an

interest adverse to the estate in regard to the matters for which I have been appointed and am a
disinterested person within the meaning of 11 U.S.C. §101(14).

2. No agreement or understanding exists between myself and any other person for division of
compensation and no division of compensation shall be made by myself except as permitted by 11 U.S.C.
§504 and by Bankruptcy Rule 2016(a).

3. No agreement, express or implied, has been made by myself in excess of the compensation
allowed by law or in violation of 18 U.S.C. §155.

| affirm under the penalties for perjury, that the foregoing representations are true and correct to

the best of my knowledge, information, and belief,
DATE: March 19, 2019
/ MY

Yvette Gaff KleVerChapter 7 Trustee

Subscribed and sworn to before me, a Notary Public in and for said County and State, on March
19, 2019.

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My Commission Expires: it rape . hw

November 15, 2023 DeLayna DY Lehner, Notary Public
Resident of DeKalb County, Indiana

 

yy DELAYNA D. LE HNER
SMLE 2%, Notary Public, State of Indiana
feotany’,,% Dekalb County

; Commission # 673273
My Commission Expires

November 15, 2023

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